Case 1:23-cv-01228-JRS-MG
        Case 1:20-cv-07269-VEC-OTW      DocumentDocument
                                                       21-1 Filed   181
                                                                      11/23/23
                                                                         Filed 11/08/23
                                                                                 Page 1 ofPage
                                                                                           15 PageID
                                                                                               1 of 2 #: 195
                                                                                     USDC SDNY
                                                                                     DOCUMENT
                                                                                     ELECTRONICALLY FILED
                                                                                     DOC #:
  UNITED STATES DISTRICT COURT                                                       DATE FILED: 11/8/2023
  SOUTHERN DISTRICT OF NEW YORK
   -------------------------------------------------------------- X
   THE NATIONAL ACADEMY OF TELEVISION :
   ARTS AND SCIENCES, INC. and ACADEMY :
   OF TELEVISION ARTS & SCIENCES,                                 :
                                                                  :
                                                Plaintiffs,       :          20-CV-7269 (VEC)
                                                                  :
                              -against-                           :               ORDER
                                                                  :
   MULTIMEDIA SYSTEM DESIGN, INC.                                 :
   d/b/a “CROWDSOURCE THE TRUTH”,                                 :
                                                                  :
                                                Defendant. :
   -------------------------------------------------------------- X

  VALERIE CAPRONI, United States District Judge:

          WHEREAS on February 22, 2022, the Court ordered Jason Goodman, the sole

  shareholder and employee of Defendant MSD, to file a copy of the Court’s Order at Dkt. 156

  (hereafter “the Order”) “in every lawsuit in which he or any company in which he is a majority

  shareholder is a party. This Order applies whether the lawsuit is in state court or federal court

  and whether Mr. Goodman or his company is represented or pro se. Should he fail to do so, that

  would be a contempt of this Court’s Order and would be punished accordingly”; and

          WHEREAS on October 31, 2023, Mr. Goodman filed a complaint in Goodman v. The

  City of New York & X Corp. et al, No. 23-CV-9648, and failed to file a copy of the Order.

          IT IS HEREBY ORDERED THAT by no later than November 28, 2023, Mr. Goodman

  must show cause why, in light of the lack of a specific deadline in the Order by which Mr.

  Goodman must file it in newly-commenced lawsuits, the Court should not amend it to require

  him to file the Order within one week of commencing any new lawsuit and ordering him to

  promptly file the Order in No. 23-CV-9648 and in any other lawsuit commenced since his last

  certification.
Case 1:23-cv-01228-JRS-MG
       Case 1:20-cv-07269-VEC-OTW
                            DocumentDocument
                                     21-1 Filed
                                              181
                                                11/23/23
                                                   Filed 11/08/23
                                                          Page 2 ofPage
                                                                    15 PageID
                                                                        2 of 2 #: 196




        The Clerk of Court is respectfully directed to mail a copy of this Order to Jason Goodman

  at: 252 7th Avenue #6s, New York, NY 10001.



  SO ORDERED.
                                                        ________________________
  Date: November 8, 2023                                   VALERIE CAPRONI
        New York, New York                               United States District Judge




                                                2
Case 1:23-cv-01228-JRS-MG
       Case 1:20-cv-07269-VEC-OTW
                            DocumentDocument
                                     21-1 Filed
                                              156
                                                11/23/23
                                                   Filed 02/22/22
                                                          Page 3 ofPage
                                                                    15 PageID
                                                                        1 of 7 #: 197

                                                                        USDC SDNY
                                                                        DOCUMENT
  UNITED STATES DISTRICT COURT                                          ELECTRONICALLY FILED
  SOUTHERN DISTRICT OF NEW YORK                                         DOC #:
                                                                        DATE FILED: 
   -------------------------------------------------------------- X
   THE NATIONAL ACADEMY OF TELEVISION :
   ARTS AND SCIENCES, INC. and ACADEMY :
   OF TELEVISION ARTS & SCIENCES,                                 :
                                                                  :
                                                Plaintiffs,       :   20-CV-7269 (VEC)
                                                                  :
                              -against-                           :        ORDER
                                                                  :
   MULTIMEDIA SYSTEM DESIGN, INC.                                 :
   d/b/a “CROWDSOURCE THE TRUTH”,                                 :
                                                                  :
                                                Defendant. :
   -------------------------------------------------------------- X

  VALERIE CAPRONI, United States District Judge:

          In late 2020, the National Academy of Television Arts and Sciences and the Academy of

  Television Arts & Sciences sued Multimedia System Design, Inc., d/b/a Crowdsource the Truth

  (“MSD”) for violating its copyright and trademark on the Emmy statuette and for defamation.

  See Compl., Dkt. 1; see also Am. Compl., Dkt. 62. Thus began litigation that has now ended

  with a default judgment being entered against the Defendant following its failure to hire an

  attorney to represent it after its initial attorney was relieved. This Order addresses misconduct by

  the sole shareholder and employee of MSD, Jason Goodman, in connection with this litigation.

  Mr. Goodman is a conspiracy theorist who has an ongoing feud with D. George Sweigert (“Mr.

  Sweigert”) that plays out, among other places, on the internet and via federal court litigation.

  See, e.g., Sweigert v. Goodman, No. 18-CV-8653 (S.D.N.Y.).

          On December 18, 2020, MSD (represented at the time) and the Plaintiffs stipulated to a

  Protective Order that provided, inter alia: “no person subject to this Order may disclose . . .

  Confidential Discovery Material to anyone else except as this Order expressly permits.” See

  Protective Order, Dkt. 41 at 2. On August 13, 2021, while a motion for sanctions was pending
Case 1:23-cv-01228-JRS-MG
       Case 1:20-cv-07269-VEC-OTW
                            DocumentDocument
                                     21-1 Filed
                                              156
                                                11/23/23
                                                   Filed 02/22/22
                                                          Page 4 ofPage
                                                                    15 PageID
                                                                        2 of 7 #: 198




  against MSD, see Dkts. 63, 66, MSD’s attorney sought to be relieved because he was

  purportedly afraid of Mr. Sweigert, see Dkts. 100, 101. The motion represented that the sole

  principal of MSD, Mr. Goodman, did not object to the attorney being relieved. The Court

  granted the attorney’s request to be relieved and adjourned sine die MSD’s time to respond to the

  outstanding motion for sanctions. See Orders, Dkts. 103, 104.

           On August 24, 2021, just days after MSD’s attorney had been relieved, Plaintiffs notified

  the Court via a sealed letter that Mr. Goodman had violated the Protective Order. See Pls. Ltr.,

  Dkt. 109; see also Dkt. 113. Plaintiffs attached to their letter an email string that included (in

  chronological order): (1) part of an email dated June 4, 2021, from Mr. Sweigert, using the email

  address spoliation-notice@mailbox.org, to New York State’s Attorney Grievance Committee

  complaining about MSD’s attorney; (2) another email from Mr. Sweigert to the Grievance

  Committee, dated August 16, 2021, purporting to provide background information on the

  attorney’s “disassociation from his client”; (3) an email from Mr. Sweigert dated August 23,

  2021, to the New York Attorney General complaining about MSD and Jason Goodman; (4) an

  email, dated August 23, 2021 at 11:52 a.m., from Jason Goodman “to all recipients of David

  George Sweigert’s malicious email,” complaining about Mr. Sweigert and stating, inter alia, that

  Mr. Sweigert caused a “fraudulent email message to be sent to the National Academy of

  Television Arts and Sciences” from a specified email address (hereafter referred to as “the

  confidential email address”) and that email message caused a lawsuit to be filed against

  Goodman1; (5) an August 23, 2021, responsive email from Larry Klayman (who is an attorney);

  and (6) an August 23, 2021, response from Mr. Goodman to Mr. Klayman, which was copied to

  more than thirty email addresses, including Plaintiffs’ counsel and the confidential email address.


  1
           The reference to the lawsuit being filed against Mr. Goodman is apparently a reference to this lawsuit,
  which, in fact, was filed against MSD, not Mr. Goodman.


                                                            2
Case 1:23-cv-01228-JRS-MG
       Case 1:20-cv-07269-VEC-OTW
                            DocumentDocument
                                     21-1 Filed
                                              156
                                                11/23/23
                                                   Filed 02/22/22
                                                          Page 5 ofPage
                                                                    15 PageID
                                                                        3 of 7 #: 199




  See Dkt. 109-1; see also Dkt. 113 at Ex. A. In Mr. Goodman’s August 23, 2021, response to Mr.

  Klayman, Mr. Goodman explained that the goal of his 11:52 a.m. email had been to get the word

  out that Mr. Sweigert is “crazy without saying anything that he can allege is defamatory.”

  Further, Mr. Goodman explained:

           I’m also planting the seed with [Plaintiffs’] lawyers that they’re aligned with a crazy
           guy and if they don’t unalign themselves it’s gonna give me more evidence to show
           that they’re working together. I also sent this to [the confidential email address]
           first time I ever emailed that address. Let’s see if there’s any response. Now that
           I don’t have an attorney whatever I do my attorney can’t get sanctioned and I’m not
           even Pro Se so they could just yell at me and tell me not to do it again.

  Dkt. 109-1 at 1; see also Dkt. 113 at Ex. A at 1. After determining that neither Mr. Goodman

  nor MSD were represented by Mr. Klayman, the Court ordered Mr. Goodman to show cause why

  he should not be sanctioned for violating the Protective Order. See Order, Dkt. 112.2 Mr.

  Goodman asserted in his written response, “I did not know the email was subject to the

  protection order. . . . I recall [MSD’s former attorney] telling me that Plaintiff did something that

  put the address into the public domain, but I cannot recall what that was. . . . Any improper

  revelation was inadvertent and unintentional.” Response, Dkt. 114. After receiving Mr.

  Goodman’s response and the Plaintiffs’ reply, Dkt. 117, plus two more submissions from Mr.

  Goodman, Dkts. 120, 121, the Court scheduled an evidentiary hearing, Dkt. 122. The hearing

  was held on October 25, 2021. See Oct. 25, 2021 Hearing Tr., Dkt. 129.

           Although his written response and the email that triggered this Order implicitly admitted

  that he was aware that a Protective Order was in place, at the hearing, Mr. Goodman testified,

  incredibly, that he was unsure whether he had known that there was a Protective Order in place

  until Plaintiffs notified him in August that he had violated it. See id. at 6:4–17. Although his



  2
           The Court also ordered Plaintiffs to refile their August 24, 2021, letter publicly with the confidential email
  address redacted. See Order, Dkt. 112. Plaintiffs did so on August 26, 2021. See Dkt. 113.


                                                             3
Case 1:23-cv-01228-JRS-MG
       Case 1:20-cv-07269-VEC-OTW
                            DocumentDocument
                                     21-1 Filed
                                              156
                                                11/23/23
                                                   Filed 02/22/22
                                                          Page 6 ofPage
                                                                    15 PageID
                                                                        4 of 7 #: 200




  written response stated that he could not recall why he thought the confidential email address

  was public, at the time of the hearing, Mr. Goodman recalled being told by MSD’s former

  attorney in May 2021 that the confidential email was no longer confidential because it had been

  spoken aloud during a deposition (which itself had been marked confidential in its entirety, see

  id. at 11:13–15) and Plaintiffs’ counsel did not move to strike it from the record, see id. at 7:11–

  18, 9:7–15, 10:22–11:9, 18:1–6. At the same time, Mr. Goodman acknowledged that MSD’s

  attorney had told him prior to being relieved that he could not simply email the confidential

  email address, see id. at 9:16–19, 10:22–24, 12:9–11, advice that would make no sense if the

  attorney had advised Mr. Goodman that it was no longer subject to the Protective Order.3

           “Sanctions may be authorized by any of a number of rules or statutory provisions, or may

  be permissible on the basis of the court’s inherent powers.” Sakon v. Andreo, 119 F.3d 109, 113

  (2d Cir. 1997). As relevant here, “district courts have the inherent power” to sanction a party

  “for bad faith conduct violating the court’s orders.” S. New England Tel. Co. v. Glob. NAPs Inc.,

  624 F.3d 123, 144 (2d Cir. 2010); see also Chambers v. NASCO, Inc., 501 U.S. 32, 50 (1991)

  (“[N]either is a federal court forbidden to sanction bad-faith conduct by means of the inherent

  power simply because that conduct could also be sanctioned under the statute or the Rules.”). A

  court may impose sanctions under its inherent authority if it finds by “clear evidence that the

  conduct at issue is (1) entirely without color and (2) motivated by improper purposes.” Wolters

  Kluwer Fin. Servs., Inc. v. Scivantage, 564 F.3d 110, 114 (2d Cir. 2009). “Conduct is entirely


  3
            Why the email address is confidential is not entirely clear. According to Plaintiffs’ counsel, it is
  confidential because it communicated to Plaintiffs through a members-only email portal; thus, exposure of the email
  address could jeopardize the confidentiality of Plaintiffs’ membership. See Oct. 25, 2021 Hearing Tr. at 32:9–33:1.
  While that argument may or may not have prevailed in the face of a defense request to the Court to remove it from
  the constraints of the Protective Order, the fact that Plaintiffs designated the email address as confidential has fueled
  Mr. Goodman’s suspicion that his nemesis, Mr. Sweigert, used that email address to foment this litigation and that
  Plaintiffs are wrongfully trying to hide their association with him. See id. at 9:22–23, 16:1–9, 24:1–7, 41:16-42:10.
  The provenance of the email address and its role vel non in the genesis of this litigation are irrelevant to whether Mr.
  Goodman violated the Protective Order.


                                                             4
Case 1:23-cv-01228-JRS-MG
       Case 1:20-cv-07269-VEC-OTW
                            DocumentDocument
                                     21-1 Filed
                                              156
                                                11/23/23
                                                   Filed 02/22/22
                                                          Page 7 ofPage
                                                                    15 PageID
                                                                        5 of 7 #: 201




  without color when it lacks any legal or factual basis.” Id.; see also Huebner v. Midland Credit

  Mgmt., Inc., 897 F.3d 42, 55 (2d Cir. 2018) (“A court may infer bad faith when a party

  undertakes frivolous actions that are ‘completely without merit.’”) (citation omitted).

           Applying this standard, a sanction for Mr. Goodman’s violation of the Protective Order is

  appropriate. The Protective Order was clear and unambiguous that “no person subject to this

  Order may disclose . . . Confidential Discovery Material to anyone else except as this Order

  expressly permits.” See Dkt. 41 at 2. It is obvious from the face of Mr. Goodman’s August 23,

  2021 email that Mr. Goodman was well aware that the confidential email address was

  confidential. If he were not aware of that fact (that is, if his testimony at the hearing were

  truthful that he thought the email address was no longer confidential), his statement in the

  August 23, 2021 email — which he accidentally copied to a group of many people (including

  Plaintiffs’ counsel)4 — that his attorney “can’t get sanctioned” for using and disclosing the

  confidential email address would make no sense. Accordingly, it is simply not plausible that Mr.

  Goodman misunderstood the situation. See Petrisch v. JP Morgan Chase, 789 F. Supp. 2d 437,

  455 (S.D.N.Y. 2011); see also Roberts v. Bennaceur, 658 F. App’x 611, 615 (2d Cir. 2016)

  (summary order) (imposing sanctions based on numerous “misrepresentations” and “inadequate

  explanations” that demonstrated “bad faith throughout these proceedings”) (citation omitted).

  Rather, Mr. Goodman’s violation of the Protective Order was done willfully, with no legitimate

  purpose, to satisfy Mr. Goodman’s desire to prove that Mr. Sweigert was behind the confidential




  4
            The Court can take judicial notice that the practice of hitting “reply all” on emails not infrequently results
  in emails being inadvertently sent to many recipients. The evidence that Mr. Goodman sent the email in question to
  the copyees inadvertently is that he promptly called Plaintiffs’ counsel, asked her to delete the email, and
  characterized the email as having been sent inadvertently. See Dkt. 113 at Ex. B; see also Oct. 25, 2021 Hearing Tr.
  at 43:7–9 (“At the time I composed [the August 23, 2021, email] I understood it was a statement being made to
  private, to a friend[.] [T]hat [i.e., sending it to many recipients] was inadvertent.”).


                                                             5
Case 1:23-cv-01228-JRS-MG
       Case 1:20-cv-07269-VEC-OTW
                            DocumentDocument
                                     21-1 Filed
                                              156
                                                11/23/23
                                                   Filed 02/22/22
                                                          Page 8 ofPage
                                                                    15 PageID
                                                                        6 of 7 #: 202




  email address.5 For all of these reasons, the Court concludes that Mr. Goodman willfully

  violated the terms of the Protective Order and disregarded the authority of the Court.

           The Court has considered what an appropriate sanction would be. See Macolor v.

  Libiran, No. 14-CV-4555, 2015 WL 1267337, at *5 (S.D.N.Y. Mar. 18, 2015) (sanctions must

  be “no more severe than reasonably necessary to deter repetition” of the misconduct “or

  comparable conduct by similarly situated persons”) (cleaned up). By Order entered today, the

  underlying lawsuit has been terminated with a default judgment against MSD. Nevertheless,

  given Mr. Goodman’s propensity to become involved in litigation on both sides of the versus

  sign, the Court finds that an appropriate sanction is to require Mr. Goodman, for the next two

  years, to notify all other Courts in which he litigates and all other parties against whom or with

  whom he litigates that a Court has determined that he willfully violated a Protective Order during

  litigation. See, e.g., Gallop v. Cheney, 667 F.3d 226, 230 (2d Cir. 2012) (requiring sanctioned

  counsel “for a period of one year from the date of entry of this order, to provide notice of the

  sanctions imposed upon him in this case . . . to any federal court in this Circuit before which he

  appears or seeks to appear”). To accomplish this, Mr. Goodman must, until February 22, 2024,

  file a copy of this Order in every lawsuit in which he or any company in which he is a majority

  shareholder is a party. This Order applies whether the lawsuit is in state court or federal court

  and whether Mr. Goodman or his company is represented or pro se. Should he fail to do so, that

  would be a contempt of this Court’s Order and would be punished accordingly.

           Mr. Goodman must file a certification, under penalty of perjury, with this Court, not later

  than March 22, 2022, listing all cases in which he is engaged as of that date, and affirming that

  this Order has been filed in each case. Thereafter, on the one-year anniversary of this Order,


  5
           Whether it was Mr. Sweigert who notified Plaintiffs of the misuse of the Emmy statuette is, of course, not
  relevant to whether MSD’s actions violated Plaintiffs’ intellectual property rights.


                                                           6
Case 1:23-cv-01228-JRS-MG
       Case 1:20-cv-07269-VEC-OTW
                            DocumentDocument
                                     21-1 Filed
                                              156
                                                11/23/23
                                                   Filed 02/22/22
                                                          Page 9 ofPage
                                                                    15 PageID
                                                                        7 of 7 #: 203




  until and including 2024, Mr. Goodman must file a similar certification, under penalty of perjury,

  listing all cases in which he has been engaged since the prior certification, and affirming that the

  Order was filed in all of the cases.

         The Clerk of Court is respectfully directed to mail a copy of this Order to Jason Goodman

  at: 252 7th Avenue #6s, New York, NY 10001.



  SO ORDERED.
                                                             ____
                                                               ___________________________
                                                               __
                                                        _________________________________
  Date: February 22, 2022                                       VALERIE CAPRON
                                                                            CAPRONIONI
                                                                                   ON
        New York, NY                                          United States District Judge




                                                   7
MANDATE
                    Case 22-592, Document
       Case 1:23-cv-01228-JRS-MG          174-1,
                                   Document  21-109/13/2023, 3568298,
                                                   Filed 11/23/23 PagePage1
                                                                       10 of of
                                                                             156PageID #: 204



         22-592-cv
         The National Academy of Television Arts and Sciences, Inc. v. Goodman


                                UNITED STATES COURT OF APPEALS
                                    FOR THE SECOND CIRCUIT

                                           SUMMARY ORDER
  RULINGS BY SUMMARY ORDER DO NOT HAVE PRECEDENTIAL EFFECT. CITATION TO A SUMMARY
  ORDER FILED ON OR AFTER JANUARY 1, 2007, IS PERMITTED AND IS GOVERNED BY FEDERAL RULE OF
  APPELLATE PROCEDURE 32.1 AND THIS COURT’S LOCAL RULE 32.1.1. WHEN CITING A SUMMARY
  ORDER IN A DOCUMENT FILED WITH THIS COURT, A PARTY MUST CITE EITHER THE FEDERAL
  APPENDIX OR AN ELECTRONIC DATABASE (WITH THE NOTATION “SUMMARY ORDER”). A PARTY
  CITING A SUMMARY ORDER MUST SERVE A COPY OF IT ON ANY PARTY NOT REPRESENTED BY
  COUNSEL.


   1                   At a stated term of the United States Court of Appeals for the Second
   2     Circuit, held at the Thurgood Marshall United States Courthouse, 40 Foley Square, in
   3     the City of New York, on the 14th day of June, two thousand twenty-three.
   4
   5     PRESENT:
   6                 ROSEMARY S. POOLER
   7                 RICHARD C. WESLEY,
   8                 MICHAEL H. PARK,
   9                       Circuit Judges.
  10     _____________________________________
  11
  12     The National Academy of Television Arts and
  13     Sciences, Inc., Academy of Television Arts &
  14     Sciences,
  15
  16                              Plaintiffs-Appellees,
  17                      v.                                                          22-592
  18
  19     Jason Goodman,
  20
  21                              Counter-Claimant-Counter-
  22                              Defendant-Appellant. *



                 *   The Clerk is respectfully directed to amend the caption accordingly.




MANDATE ISSUED ON 09/13/2023
                  Case 22-592, Document
     Case 1:23-cv-01228-JRS-MG          174-1,
                                 Document  21-109/13/2023, 3568298,
                                                 Filed 11/23/23 PagePage2
                                                                     11 of of
                                                                           156PageID #: 205




 1     _____________________________________
 2
 3
 4     FOR GOODMAN:                                 Jason Goodman, pro se, New York, NY.

 5
 6     FOR THE ACADEMIES:                           Margaret A. Esquenet , B. Brett
 7                                                  Heavner, Mary Kate Brennan, Finnegan,
 8                                                  Henderson, Farabow, Garrett & Dunner,
 9                                                  LLP, Washington, DC.
10
11     FOR AMICUS CURIAE:                           D. George Sweigert, pro se, Box Elder,
12                                                  SD.
13
14           Appeal from a judgment of the United States District Court for the Southern

15     District of New York (Caproni, J.).


16           UPON DUE CONSIDERATION, IT IS HEREBY ORDERED, ADJUDGED,

17     AND DECREED that the judgment of the district court is AFFIRMED and the motion to

18     strike is DENIED as moot.

19           Appellant Jason Goodman, proceeding pro se, appeals from the district court’s

20     sanctions order against him and denial of his motion to intervene.    Appellees, the

21     Academy of Television Arts & Sciences and the National Academy of Television Arts and

22     Sciences, Inc. (together, the “Academies”), brought a copyright- and trademark-

23     infringement suit against Multimedia System Design, Inc. (“MSD”). Goodman, the sole

24     owner and employee of MSD, sought to intervene on his own behalf. The district court

25     denied that motion and imposed sanctions on Goodman for willfully violating a

                                                2
                  Case 22-592, Document
     Case 1:23-cv-01228-JRS-MG          174-1,
                                 Document  21-109/13/2023, 3568298,
                                                 Filed 11/23/23 PagePage3
                                                                     12 of of
                                                                           156PageID #: 206




 1     protective order by exposing a confidential email address.         We assume the parties’

 2     familiarity with the underlying facts, the procedural history of the case, and the issues on

 3     appeal.

 4            Pro se filings are liberally construed “to raise the strongest arguments they

 5     suggest.” McLeod v. Jewish Guild for the Blind, 864 F.3d 154, 156 (2d Cir. 2017).

 6      I.    Sanctions

 7            We review sanctions orders for abuse of discretion. Wolters Kluwer Fin. Servs., Inc.

 8     v. Scivantage, 564 F.3d 110, 113 (2d Cir. 2009). “Imposition of sanctions under a court’s

 9     inherent powers requires a specific finding that an attorney [or party] acted in bad faith”

10     and is “appropriate only if there is clear evidence that the conduct at issue is (1) entirely

11     without color and (2) motivated by improper purposes.”            Id. at 114.   Conduct is

12     “entirely without color when it lacks any legal or factual basis.” Id. “A finding of bad

13     faith, and a finding that conduct is without color or for an improper purpose, must be

14     supported by a high degree of specificity in the factual findings.” Id.

15            The district court did not abuse its discretion by ordering sanctions based on its

16     finding that Goodman acted in bad faith.          Goodman knew of the protective order

17     prohibiting disclosure of confidential discovery material, understood that the

18     confidential email address was protected by that order, and decided to reveal the email

19     address anyway. The court determined that “Goodman’s violation of the Protective

20     Order was done willfully, with no legitimate purpose, to satisfy Mr. Goodman’s desire


                                                     3
                  Case 22-592, Document
     Case 1:23-cv-01228-JRS-MG          174-1,
                                 Document  21-109/13/2023, 3568298,
                                                 Filed 11/23/23 PagePage4
                                                                     13 of of
                                                                           156PageID #: 207




 1     to prove that Mr. Sweigert was behind the confidential email address,” and Goodman

 2     willfully disregarded the authority of the district court in establishing a protective order.

 3     Order at 5–6 , Nat’l Acad. of Television Arts & Scis., Inc., No. 20-cv-7269 (S.D.N.Y. Feb. 22,

 4     2022), ECF No. 156. Indeed, Goodman made clear that he understood his behavior could

 5     have led to sanctions for an attorney but assumed he was protected from reprisal because

 6     he was neither a pro se litigant nor represented by counsel. See Letter exhibit A at 2,

 7     Nat’l Acad. of Television Arts & Scis., Inc., No. 20-cv-7269 (S.D.N.Y. Aug. 26, 2021), ECF No.

 8     113-1 (“Now that I don’t have an attorney whatever I do my attorney can’t get sanctioned

 9     and I’m not even Pro Se so they could just yell at me and tell me not to do it again.”).

10     Moreover, at a show-cause hearing on the matter, the court rejected Goodman’s claim

11     that he did not realize the email address was subject to the protective order, specifically

12     finding that this explanation for his conduct was not credible. We afford the district

13     court’s credibility determinations significant deference, see United States v. Iodice, 525 F.3d

14     179, 185 (2d Cir. 2008), and the record fully supports the district court’s assessment of

15     Goodman’s bad faith.

16            Furthermore, the requirement to notify other courts of the order against Goodman

17     is not a particularly onerous sanction. “A district court may, in its discretion, impose

18     sanctions against litigants who abuse the judicial process,” including “an injunction

19     forbidding further litigation.” Shafii v. Brit. Airways, PLC, 83 F.3d 566, 571 (2d Cir. 1996).

20     Goodman has engaged in many lawsuits with Sweigert, including at least six others that


                                                      4
                  Case 22-592, Document
     Case 1:23-cv-01228-JRS-MG          174-1,
                                 Document  21-109/13/2023, 3568298,
                                                 Filed 11/23/23 PagePage5
                                                                     14 of of
                                                                           156PageID #: 208




 1     have reached this Court. See 2d Cir. 21-78, 21-2005, 21-3101, 22-40, 22-682, 22-1414. The

 2     district court’s order is limited to two years and serves only to notify other courts that

 3     Goodman has previously violated a protective order. The order did not bar Goodman

 4     from further litigation and so was less of an imposition than a filing injunction. Cf. Shafii,

 5     83 F.3d at 571. And we have approved similar orders against attorneys who have been

 6     sanctioned. See Gallop v. Cheney, 667 F.3d 226, 230-31 (2d Cir. 2012).

 7     II.    Intervention

 8            “We review a district court’s denial of a motion to intervene for abuse of

 9     discretion.” In re Bank of N.Y. Derivative Litig., 320 F.3d 291, 299 (2d Cir. 2003). First, to

10     intervene as a matter of right under Fed. R. Civ. P. 24(a)(2), an applicant must “(1) timely

11     file an application, (2) show an interest in the action, (3) demonstrate that the interest may

12     be impaired by the disposition of the action, and (4) show that the interest is not protected

13     adequately by the parties to the action.” Id. at 300. (cleaned up). “Failure to satisfy any

14     one of these requirements is a sufficient ground to deny the application.” Id. (cleaned

15     up).

16            The district court did not abuse its discretion by finding that Goodman’s motion

17     to intervene as of right was untimely, as it was filed a year and a half into the litigation

18     and only after Goodman realized MSD was at risk of a default judgment. Furthermore,




                                                     5
                  Case 22-592, Document
     Case 1:23-cv-01228-JRS-MG          174-1,
                                 Document  21-109/13/2023, 3568298,
                                                 Filed 11/23/23 PagePage6
                                                                     15 of of
                                                                           156PageID #: 209




 1     Goodman was the sole owner and employee of MSD, suggesting that his interests were

 2     fully represented in the suit.

 3            Second, as to permissive intervention under Fed. R. Civ. P 24(b), the district court

 4     has “broad discretion” to deny such an application. N.Y. News, Inc. v. Kheel, 972 F.2d

 5     482, 487 (2d Cir. 1992). The district court did not abuse its discretion in denying the

 6     motion to intervene because Goodman filed a separate suit in which he sued Sharp, the

 7     Academies, attorneys for the Academies, and others.                Goodman thus had a full

 8     opportunity for his claims to be heard before a court. Goodman’s interests have also

 9     been represented on appeal by MSD.

10            We have considered all of Goodman’s remaining arguments and find them to be

11     without merit. Accordingly, we AFFIRM the judgment of the district court. Because

12     we affirm the judgment, we DENY the Academies’ motion to strike as moot. 1

13                                                   FOR THE COURT:
14                                                   Catherine O’Hagan Wolfe, Clerk of Court




              1   The contested Appendix did not factor into our consideration of this appeal.

                                                        6
